  Case 4:17-cv-00588-O-BP Document 11 Filed 12/08/17               Page 1 of 3 PageID 78


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

YORAM AVNERI,                                  §
    Plaintiff                                  §
                                               §
V.                                             §     CIVIL ACTION NO. 4:17-cv-00588-O
                                               §
HARTFORD FIRE INSURANCE                        §
COMPANY,                                       §
    Defendant                                  §

                 JOINT REPORT OF MEDIATION AND SETTLEMENT

       The Parties mediated this case on November 29, 2017 before John DeGroote in Dallas,

Texas. Present at the mediation were the following individuals: J. Zachary Moseley and Derek

Fadner (counsel for Plaintiff), Yoram Avneri (Plaintiff), Justin E. VandenBout (counsel for

Hartford Fire), and David A. Thompson (Property Team Leader and Corporate Rep for Hartford

Fire). Although the case did not resolve at mediation, the case resolved shortly thereafter on

December 4, 2017 by agreement of the parties. The Parties are finalizing settlement and release

documents and anticipate filing dismissal documents on or before December 31, 2017.
Case 4:17-cv-00588-O-BP Document 11 Filed 12/08/17      Page 2 of 3 PageID 79


                              Respectfully submitted,

                              CHAMBERLAIN, HRDLICKA, WHITE,
                                   WILLIAMS & AUGHTRY

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                               FIRE INSURANCE COMPANY

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  Case 4:17-cv-00588-O-BP Document 11 Filed 12/08/17               Page 3 of 3 PageID 80


                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been forwarded to the
following counsel of record in accordance with the Federal Rules of Civil Procedure on this 8th
day of December, 2017.

        James M. McClenny
        J. Zachary Moseley
        Derek L. Fadner
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                                                   /s/ Justin E. VandenBout
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